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             Insurance Company                     Group #               Plan Type                 Coverage period                          Employer                            Employee                            Total      Status    Due Date
            Blue Cross Blue Sheild                65799 002                 PPO                 03/1/2018 ‐ 03/01/2019                                     7,804.64                           11,224.58          19,029.22     Current   5/1/2018
            Blue Cross Blue Sheild                65799 005                HMO                  03/1/2018 ‐ 03/01/2019                                   21,484.18                             5,378.91          26,863.09     Current   5/1/2018
            Blue Cross Blue Sheild                65799 009                HMO                  03/1/2018 ‐ 03/01/2019                                   17,835.96                                       ‐       17,835.96     Current   5/1/2018
            Blue Cross Blue Sheild                65799 C05             Cobra‐HMO               03/1/2018 ‐ 03/01/2019                                     1,961.76                                       ‐        1,961.76    Current   5/1/2018
            Blue Cross Blue Sheild                65799 C02              Cobra‐PPO              03/1/2018 ‐ 03/01/2019                                   11,477.71                                               11,477.71     Current   5/1/2018
         Florida Blue Group Ancillary              7DV199              Dental & Vision          03/1/2018 ‐ 03/01/2019                                     3,164.53                             1,209.19           4,373.72    Current   5/1/2018
                                                                  Hospital, Critical Illness, 
Unum Provident Life and Accident Insurance Co     E0578609        Accidental, Whole Life,  03/1/2018 ‐ 03/01/2019                                186.03                                               575.95          761.98   Current   5/1/2018
                                                                    Cancer Protection

                                                                  Basic Life & Accidental 
  Unum Life Insurance Company of America        #0632279‐001 8                             03/1/2018 ‐ 03/01/2019                             1,239.92                                                             1,239.92    Current   5/1/2018
                                                                 Death & Dismemberment

                                                                  Lifestyle Life, Souse Life, 
  Unum Life Insurance Company of America        #0079473‐001 9       Child Life, Voluntary     03/1/2018 ‐ 03/01/2019                                314.90                                                           314.90   Current   5/1/2018
                                                                 Death & Dismemberment
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         Insurance Company Name                                Policy Type                     Property Covered           Policy Number          Coverage period           Monthly premium                            Annual premium                                   Amount of Coverage                                   Premium status Due Date
      Chubb/Federal Insurance Company                          Magement Liability                   All locations             8221‐5850         3/31/2018 ‐ 02/01/2019                                                                                                                                        5,000,000      Late as of 4/22   4/21/2018
Endurance American Specialty Insurance Company                      Property                        All locations          ESP30000462100      02/01/2018 ‐ 02/01/2019                                     7,538                                                                                            10,000,000          Current        5/1/2018
      Illinois National Insurance Company                        Cyber Liability                    All locations            01‐174‐39‐04      02/01/2018 ‐ 02/01/2019                                         813                                                                                            1,000,000         Current        5/1/2018
        Philadelphia insurance Company             General Liability, Crime, Inland Marine                                  PHPK1772960        02/01/2018 ‐ 02/01/2019                                     2,797                                                                                                             Late as of 4/22   4/21/2018
        Philadelphia insurance Company                                Auto                                                  PHPK1772960        02/01/2018 ‐ 02/01/2019                                     2,468                                                                                              1,000,000      Late as of 4/22   4/21/2018
                                                      Workers Compensation, Employee 
        Philadelphia insurance Company                   Benefits, Professional Liability,          All locations           PHPK1772960        02/01/2018 ‐ 02/01/2019                                       2,912                                                                                              3,000,000    Late as of 4/22   4/21/2018
                                                             Sexual/Physical Abuse
                                                  Umbrella: additional coverage limits over 
                                                      auto, medical malpractice, general 
        Philadelphia insurance Company                                                              All locations           PHUB616744         02/01/2018 ‐ 02/01/2019                                       2,989                                                                                              3,000,000    Late as of 4/22   4/21/2018
                                                    liability, employer liability & workers 
                                                                 compensation.
                 The Hartford                          Florida telemarketing surity bond      5825 South Congress Ave        08BSBH64783         6/26/17 ‐ 6/26/2018                                                                                   500                                                                      Current
   Commerce and Industry insurance company                    Storage tank liability             4905 Lantana Rd.               5148600           7/11/17 ‐ 7/11/18                                                                                    555                                                    1,000,000         Current
      Chubb/Federal Insurance Company                        Boiler and Machinary                4905 Lantana Rd.             7643‐60‐32         2/01/18 ‐ 2/01/2019                                                                                1,718                                                     7,488,140         Current
   Wright National Flood Insurance Company                      Flood insurance              5861, 5865 S. Congress Ave   09 1151069061 04       02/27/18 ‐ 02/27/19                                                                                   929     Building 100,000 Content 200,000                                 Current
   Wright National Flood Insurance Company                      Flood insurance                 5841 S. Congress Ave      09 1151069060 04       02/27/18 ‐ 02/27/19                                                                                   937     Building 200,000 Content 100,000                                 Current        2/27/2019
   Wright National Flood Insurance Company                      Flood insurance                 5835 S. Congress Ave      09 1151069059 04       02/27/18 ‐ 02/27/19                                                                                   753     Building 100,000 Content 100,000                                 Current        2/27/2019
   Wright National Flood Insurance Company                      Flood insurance              5821, 5825 S. Congress Ave   09 1151069058 04       02/27/18 ‐ 02/27/19                                                                                   937     Building 200,000 Content 100,000                                 Current        2/27/2019
   Wright National Flood Insurance Company                      Flood insurance                 5813 S. Congress Ave      09 1151069063 04       02/27/18 ‐ 02/27/19                                                                                   698      Building 100,000 Content 75,000                                 Current        2/27/2019
          Zenith Insurance Company                           Worker compensation                    All locations             Z133139403        01/21/18 ‐ 01/21/2019                                    12,935
